  Case 2:20-cv-00153-JES-NPM Document 1 Filed 03/05/20 Page 1 of 6 PageID 1




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FT. MYERS DIVISION



 Sady Torres, individually and on behalf of all others
 similarly situated,                                                      Case No:

                                                Plaintiff,                CLASS ACTION COMPLAINT

                                  vs.
                                                                          JURY TRIAL DEMANDED
 Diversified Consultants Inc.,

                                                Defendant.

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                                     CLASS ACTION COMPLAINT
        Sady Torres, individually and on behalf of all others similarly situated (hereinafter referred
to as “Plaintiff”), by and through the undersigned counsel, complains, states and alleges against
Diversified Consultants Inc. (hereinafter referred to as “Defendant”), as follows:


                                              INTRODUCTION
        1.       This action seeks to recover for violations of the Fair Debt Collection Practices Act,
15 U.S.C. § 1692, et seq., (“FDCPA”).


                                      JURISDICTION AND VENUE

        2.       This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and
15 U.S.C. § 1692k(d).
       3.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events
or omissions giving rise to the claim occurred in this Judicial District.
        4.       At all relevant times, Defendant conducted business within the State of Florida.




                                                         1
 Case 2:20-cv-00153-JES-NPM Document 1 Filed 03/05/20 Page 2 of 6 PageID 2




                                               PARTIES
          5.    Plaintiff Sady Torres is an individual who is a citizen of the State of Florida residing
in Collier County, Florida.
          6.    Plaintiff is a natural person allegedly obligated to pay a debt.
          7.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
          8.    On information and belief, Defendant Diversified Consultants Inc., is a Florida
Corporation with a principal place of business in Duval County, Florida.
          9.    Defendant regularly collects or attempts to collect debts asserted to be owed to
others.
          10.   Defendant is regularly engaged, for profit, in the collection of debts allegedly owed
by consumers.
          11.   The principal purpose of Defendant's business is the collection of such debts.
          12.   Defendant uses the mails in its debt collection business.
          13.   Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).


                         ALLEGATIONS SPECIFIC TO PLAINTIFF
          14.   Defendant alleges Plaintiff owes a debt (“the alleged Debt”).
          15.   The alleged Debt is an alleged obligation of Plaintiff to pay money arising out of a
transaction in which the money, property, insurance, or services which are the subject of the
transaction are primarily for personal, family, or household purposes.
          16.   The alleged Debt does not arise from any business enterprise of Plaintiff.
          17.   The alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5).
          18.   At an exact time known only to Defendant, the alleged Debt was assigned or
otherwise transferred to Defendant for collection.
          19.   At the time the alleged Debt was assigned or otherwise transferred to Defendant for
collection, the alleged Debt was in default.
          20.   In its efforts to collect the alleged Debt, Defendant contacted Plaintiff by letter (“the
Initial Letter”) dated October 21, 2019. (A true and accurate copy is annexed hereto as “Exhibit
1.”)




                                                   2
  Case 2:20-cv-00153-JES-NPM Document 1 Filed 03/05/20 Page 3 of 6 PageID 3




         21.     In its efforts to collect the alleged Debt, Defendant contacted Plaintiff by an
additional letter (“the Additional Letter”) dated October 21, 2019. (A true and accurate copy is
annexed hereto as “Exhibit 2.”)
         22.     The Letters conveyed information regarding the alleged Debt.
         23.     The Letters are “communications” as defined by 15 U.S.C. § 1692a(2).
         24.     The Initial Letter was the initial written communication Plaintiff received from
Defendant concerning the alleged Debt.
         25.     The Letters were received and read by Plaintiff.
         26.     15 U.S.C. § 1692e protects Plaintiff's concrete interests. Plaintiff has the interest
and right to be free from deceptive and/or misleading communications from Defendant. As set
forth herein, Defendant deprived Plaintiff of this right.
         27.     15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
misleading representation or means in connection with the collection of any debt.
         28.     15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive
means to collect or attempt to collect any debt.
         29.     A debt collection practice can be a “false, deceptive, or misleading” practice in
violation of 15 U.S.C. § 1692e even if it does not fall within any of the subsections of 15 U.S.C. §
1692e.
         30.     A collection letter violates 15 U.S.C. § 1692e if, in the eyes of the least
sophisticated consumer it is open to more than one reasonable interpretation, at least one of which
is inaccurate.
         31.     A    collection    letter   also       violates   15   U.S.C.   §   1692e     if   it
is reasonably susceptible to an inaccurate reading by the least sophisticated consumer.
         32.     The Initial Letter states in part, “We received your letter disputing the above-
referenced account. We have placed the account in dispute status while we gather the information
needed to respond your dispute.”
         33.     The Additional Letter states, “We received your dispute regarding the above-
referenced account. We investigated and verified that the information we provided is accurate
including the name listed on the account as well as the amount owed.”
         34.     Upon reading the Letters together, the least sophisticated consumer would be
confused as to whether their dispute has been verified or is the process of being verified.



                                                    3
  Case 2:20-cv-00153-JES-NPM Document 1 Filed 03/05/20 Page 4 of 6 PageID 4




        35.     The Initial Letter makes it appear that Defendant is processing the verification of
the alleged Debt.
        36.     The Additional Letter makes it appear that Defendant has completed the
verification of the alleged Debt.
        37.     As a result of the foregoing, in the eyes of the least sophisticated consumer, the
Letters are open to more than one reasonable interpretation, at least one of which is inaccurate.
        38.     Because the Letters are open to more than one reasonable interpretation, they
violate 15 U.S.C. §§ 1692e and 1692e(10).
        39.     Because the Letters are reasonably susceptible to an inaccurate reading by the least
sophisticated consumer, they violate 15 U.S.C. §§ 1692e and 1692e(10).
        40.     For the foregoing reasons, Defendants violated 15 U.S.C. §§ 1692e and 1692e(10)
and are liable to Plaintiff therefor.


                                        CLASS ALLEGATIONS
        41.     Plaintiff brings this action individually and as a class action on behalf of all persons
similarly situated in the State of Florida.
        42.     Plaintiff seeks to certify a class of:
                     All consumers to whom Defendant sent a collection letter substantially
                     and materially similar to the Letter sent to Plaintiff, which letter was
                     sent on or after a date one year prior to the filing of this action to the
                     present.

        43.     This action seeks a finding that Defendant's conduct violates the FDCPA, and asks
that the Court award damages as authorized by 15 U.S.C. § 1692k.
        44.     The Class consists of more than thirty-five persons.
        45.     Plaintiff's claims are typical of the claims of the Class. Common questions of law
or fact raised by this action affect all members of the Class and predominate over any individual
issues. Common relief is therefore sought on behalf of all members of the Class. A class action is
superior to other available methods for the fair and efficient adjudication of this controversy.
        46.     The prosecution of separate actions by individual members of the Class would
create a risk of inconsistent or varying adjudications with respect to the individual members of the
Class, and a risk that any adjudications with respect to individual members of the Class would, as
a practical matter, either be dispositive of the interests of other members of the Class not party to


                                                    4
  Case 2:20-cv-00153-JES-NPM Document 1 Filed 03/05/20 Page 5 of 6 PageID 5




the adjudication, or substantially impair or impede their ability to protect their interests. Defendant
has acted in a manner applicable to the Class as a whole such that declaratory relief is warranted.
        47.     Plaintiff will fairly and adequately protect and represent the interests of the Class.
The management of the class is not extraordinarily difficult, and the factual and legal issues raised
by this action will not require extended contact with the members of the Class, because Defendant's
conduct was perpetrated on all members of the Class and will be established by common proof.
Moreover, Plaintiff has retained counsel experienced in actions brought under consumer protection
laws.


                                          JURY DEMAND
        48.     Plaintiff hereby demands a trial of this action by jury.


                                      PRAYER FOR RELIEF
        WHEREFORE Plaintiff respectfully requests judgment be entered:
                   a.   Certify this action as a class action; and

                   b. Appoint Plaintiff as Class Representative of the Class, and Plaintiff's
                   attorneys as Class Counsel; and

                   c.   Find that Defendants' actions violate the FDCPA; and

                   d.   Grant damages against Defendants pursuant to 15 U.S.C. § 1692k; and

                   e.   Grant Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                   f.   Grant Plaintiff's costs; together with

                    a. Such other relief that the Court determines is just and proper.

DATED: March 3, 2020
                                               BARSHAY SANDERS, PLLC

                                               By: _/s/ Craig B. Sanders
                                               Craig B. Sanders, Esquire
                                               100 Garden City Plaza, Suite 500
                                               Garden City, New York 11530
                                               Tel: (516) 203-7600
                                               Fax: (516) 706-5055



                                                   5
Case 2:20-cv-00153-JES-NPM Document 1 Filed 03/05/20 Page 6 of 6 PageID 6




                                 csanders@barshaysanders.com
                                 Attorneys for Plaintiff
                                 Our File No.: 118942




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